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                       IN THE UNITED STATES DISTRICT COURT FOR

                           THE WESTERN DISTRICT OF OKLAHOMA

CHANELLE SATTERFIELD,

                     Plaintiff,
                                                 )
vs.                                              )             No. CIV-17-1263-W

GOVERNMENT EMPLOYEES INSURANCE
COMPANY,

                     Defendant.

                                         ORDER


       On June 22, 2016, plaintiff Chanelle Satterfield filed suit in the District Court for

Garfield County, Oklahoma, against KaHee Taylor. See Doc. 1-2. Satterfield alleged that

she was a passenger in an automobile that was struck by an automobile driven by Taylor

and as a result of Taylor's negligent operation of her vehicle, she (Satterfield) sustained

injury. See id.

       Satterfield and Taylor "settled all issues[,]" Doc. 1-7, between them, and on June

21, 2017, Satterfield dismissed her claim against Taylor with prejudice. See Doc. 1-9.

On July 18, 2017, Satterfield, with leave of court, filed an amended petition and named

as defendant, her insurer. Government Employees Insurance Company ("GEICO"). See

Doc. 1-10.

       In her second amended petition filed on November 22, 2017, see Doc. 1-12,

Satterfield alleged that on July 24, 2014, the date of the accident, she was insured by

GEICO under an automobile policy. No. 4163-72-30-10 ("Policy"), which provided
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uninsured/underinsured motorist ("UM") benefits^ and that she made a claim for such

benefits. Satterfield further alleged that GEICO failed to reasonably and properly

investigate and evaluate her claim,^ and when it determined that she was not entitled to

UM coverage,^ GEICO not only breached the terms of the Policy, but also breached its

implied duty to deal fairly and to act in good faith with its insured.

        GEICO removed the action on November 22, 2017, s^ Doc. 1, and asserted in

the Notice of Removal that this Court has subject matter jurisdiction under title 28, section

1332 of the United States Code because the citizenship of the parties is diverse"* and the

amount in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

See Doc. 1 at 5; Doc. 1-12 at 8.




        ^The Policy issued by GEICO provided UM benefits in the amount of $300,000.00 per
person/$300,000.00 per accident. See Doc. 13-4. Satterfield paid premiums for three vehicles
as evidenced by the Declarations relevant to the coverage period, May 5, 2014, to November 5,
2014. See jd. at 1.

       ^At the time of the accident, Taylor had in effect a policy of insurance with State Farm
Insurance Company. Liability for bodily injury under that policy was limited to $100,000.00. See
Doc. 1-16. It was GEICO's opinion that Satterfield was not entitled to UM benefits because, as it
advised Satterfield by letter dated May 17, 2016, Satterfield's "claim [was]... within ... [Taylor's
policy] limits." jd. at 2.

        ^GEICO's decision on May 17, 2016, regarding UM benefits, seejd., was issued before
Satterfield filed suit against Taylor in state court. See Doc. 1-2.

        ''While GEICO stated in its Notice of Removal that Satterfield is a resident of the State of
Virginia, see Doc. 1-10 at 1, H 1, it did not include any allegations regarding Satterfield's
citizenship. See Siloam Springs Hotel. L.L.C. v. Century Surety Co.. 781 F.3d 1233, 1238 (lO^''
Cir. 2015)(individuars residence is not equivalent to her domicile and it is domicile that is relevant
for determining citizenship); Whitelock v. Leatherman. 460 F.2d 507, 514 n.14 (lO^'^ Cir. 1972)
(allegation that party is resident of a state is not equivalent to allegation of citizenship and is
insufficient to confer jurisdiction)).
         GEICO is incorporated under the laws of the State of Maryland and maintains its principal
place of business in Chevy Chase, Maryland. See Doc. 1-17. For purposes of diversity
jurisdiction, GEICO is deemed to be a citizen of that state. See 28 U.S.C. § 1332(c).
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        The matter now comes before the Court on GEICO's Motion to Dismiss. Satterfield

has responded, and GEICO has filed a reply in support of its argument that dismissal of

this action is warranted under Rules 12(b)(2)® and 12(b)(3), F.R.Civ.P., and title 28,

section 1406(a) of the United States Code because the Court lacks personal jurisdiction

over GEICO and venue is improper and in support of its alternate argument that transfer

of this matter is warranted under title 28, section 1404(a) of the United States Code.

        "[Jjurisdiction of the person traditionally has been analyzed in terms of two different

elements[.]" 1 R. Casad & W. Richman, Jurisdiction in Civil Actions at 6, § 1-1[2][a] (3d

ed. 1998)("JCA").       The first element—process—pertains to the "officially prescribed

procedural steps [that] must be taken to connect the party to the [C]ourt's authority!,]" M-

at 8, § 1-1[2][b]; "[t]he act of peri'orming the prescribed steps [constitutes]. .. service of

process." Jd. (emphasis deleted). That is to say, "'service of process . . . provides the

mechanism by which [this]. . . [C]ourt having . . . jurisdiction over the subject matter of

[the] . . . action asserts jurisdiction over the person of the party served."'                Hukill v.

Oklahoma Native American Domestic Violence Coalition. 542 F.3d 794, 797 (10^^ Cir.



       ®ln determining whether dismissal under Rule 12(b)(2), F.R.Civ.P., Is warranted, the Court
has discretion to decide which procedure to use to resolve the issue of personal jurisdiction raised
by GEICO. E.g.. Federal Deposit Insurance Corp. v. Oaklawn Apartments. 959 F.2d 170, 174
(10"^ Cir. 1992). "Facts regarding jurisdictional questions may be determined by reference to
affidavits [or other written materials], by a pretrial evidentiary hearing, or at trial when the
jurisdictional issue is dependent upon a decision on the merits." ]d. (citations omitted). While the
plaintiff always has the burden of proving personal jurisdiction, that "burden varies depending
upon the pretrial procedure employed by the ... [C]ourt." id. (citations omitted).
         After reviewing the instant record, the Court has concluded that the issue of personal
jurisdiction shall be resolved by reference to the documents submitted by the parties. Accordingly,
Satterfield "need only make a prima facie showing[,]'" jd. (quoting Behaaen v. Amateur Basketball
Association. 744 F.2d 731, 733 (10^*^ Cir. 1984)(further citations omitted)), and "[t]he Ourisdictional]
allegations in the [second amended petition] . . . must be taken as true to the extent they are
uncontroverted[.]" Behaaen. 744 F.2d at 733 (citations omitted); e.g.. Benton v. Cameco Corp..
375 F.3d 1070,1074 (10^ Cir. 2004)(all factual disputes resolved in plaintiffs favor in determining
whether plaintiff has made prima facie showing).
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2008)(quoting Oklahoma Radio Associates v. Federal Deposit Insurance Corporation.
969 F.2d 940, 943 (10^^ Cir. 1992)).

       Because there is no issue regarding whether GEICO has been properly served in

this case, see Doc. 1-13, the Court has considered the second element of jurisdiction

over the person—basis, e.g.. JCA at 6, § 1-1 [2][a], which refers to "the relationship among

the defendant, the forum, and the litigation . . .    Shaffer v. Heitner. 433 U.S. 186, 204

(1977).

       "To obtain personal jurisdiction over a nonresident defendant in a diversity action,

a plaintiff must show that jurisdiction is legitimate under the laws of the forum state[.]"

West Capital. Inc. v. Towne. 46 F.3d 1071, 1074 (10^^ Cir. 1995). In Oklahoma, a court

may exercise jurisdiction over a nonresident defendant only (1) ifitis statutorilyauthorized

to do so, and (2) if its exercise of jurisdiction is consistent with the due process clause of

the fourteenth amendment to the United States Constitution. E.g.. Rambo v. American

Southern Insurance Co.. 839 F.2d 1415, 1416 (lO*'^ Cir. 1988).             See Old Republic

Insurance Co. v. Continental Motors. Inc.. 877 F.3d 805, 903 (lO^'^ Cir. 2017)(law of forum

state and constitutional due process limitations govern personal jurisdiction in federal

court): Wenz v. Memerv Crystal. 55 F.3d 1503, 1506-07 (lO**^ Cir. 1995)(court must

initially determine whether exercise of jurisdiction is sanctioned by state's long-arm

statute, which is question of state law, and then determine whether exercise of jurisdiction

comports with Constitution's due process requirements).

       Because the applicable Oklahoma statute provides that

       [a] court of this state may exercise jurisdiction on any basis consistent with
       the Constitution[s] of this state and ... the United States,
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12 O.S. § 2004(F), that two-part test has "collapse[d] into a singledue process analysis[.]"
Rambo. 839 F.2d at 1416; e^, Bristol-Mvers Sauibb Co. v. Superior Court of California.

137 S. Ct. 1773, 1779 (2017)(long established that personal jurisdiction subject to four

teenth amendment due process clause).

       In this context, due process requires a nonresident defendant to "have certain

minimum contacts with . . . [the forum] such that the maintenance of the suit does not

offend 'traditional notions of fair play and substantial justice.'" International Shoe Co. v.

Washington. 326 U.S. 310, 316 (1945)(quoting Milliken v. Meyer. 311 U.S. 457, 463

(1940))(further citations omitted).   Whether due process is satisfied in a given case

depends upon "the quality and nature of," Hanson v. Denckla. 357 U.S. 235, 253 (1958),

a nonresident defendant's "'contacts, ties, or relations[,]"' Burger King Corporation v.

Rudzewicz. 471 U.S. 462, 472 (1985)(quoting International Shoe. 326 U.S. at 319)

(footnote omitted), with the forum state, and in evaluating a nonresident defendant's

alleged '"contacts, ties, or relations[,]"' jd., the Court recognizes there are "two types of

personal jurisdiction: 'general' (sometimes called 'all-purpose') jurisdiction and 'specific'

(sometimes called 'case-linked') jurisdiction." Bristol-Mvers. 137 S. Ct. at 1780 (citing

Goodvear Dunlop Tires Operations. S.A. v. Brown. 564 U.S. 915, 919 (2011)).

       "Specific jurisdiction calls for a two-step inquiry: (a) whether the plaintiff has shown

that the defendant has minimum contacts with the forum state; and, if so, (b) whether the

defendant has presented a 'compelling case that the presence of some other

considerations would render jurisdiction unreasonable.'" Old Republic Insurance. 877

F.3d at 904 (quoting Burger Kino. 471 U.S. at 476-77)(further citation omitted). The first

step—^the minimum contacts test—itself "encompasses two distinct requirements: (i) that
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the defendant must have 'purposefully directed its activities at residents of the forum

state,' [or "'purposefully availed" itself of the privilege of conducting activities ... in the

forum state[,]' Dudnikov v. Chalk &Vermilion Fine Arts. Inc.. 514 F.3d 1063, 1071 (10^^^
Cir. 2008),®] and (ii) that 'the plaintiffs injuries must arise out of [the] defendant's forum-

related activities.'"   Old Republic Insurance. 877 F.3d at 904 (quoting Shrader v.

Biddinaer. 633 F.3d 1235, 1239 (lO^^^ Cir. 2011)(further quotations omitted))(further

citation and footnote omitted).

       Thus, critical to the Court's specific jurisdiction inquiry (and dispositive of that

inquiry in this case) is "whether [Satterfield's]... injuries 'arise out of [GEICO's]... forum-

related activities."^ Id. at 908; e.g.. Anzures v. Flagship Restaurant Group. 819 F.3d 1277,

1280 (10^*^ Cir. 2016); Dudnikov. 514 F.3d at 1071. "Specific jurisdiction ... depends on




       ^Certain circuits have stated '"that the determination of specific personal jurisdiction is a
claim-specific inquiry.'" Grvnberq v. Ivanhoe Energy. Inc.. 490 Fed. Appx. 86, 92 n.4 (lO*'^ Cir.
2012)(quotation omitted)(cited pursuant to Tenth Cir. R. 32.1). "'That [a]... court has personal
jurisdiction over one defendant as to a particular claim does not necessarily mean that th[at] court
has personal jurisdiction over that same defendant as to other claims by the same plaintiff.'" id.
(quotation and further citations omitted).
         While the Tenth Circuit has not mandated a claim-by-claim jurisdictional analysis, it has
observed that "[t]he first element [of the Court's specific jurisdiction analysis] can appear in
different guises. In the tort context, [courts] . . . often ask whether the nonresident defendant
'purposefully directed' its activities at the forum state; in contract cases, meanwhile, [courts].. .
sometimes ask whether the defendant 'purposefully availed' itself of the privilege of conducting
activities or consummating a transaction in the forum state. Dudnikov. 514 F.3d at 1071 (citing
Bell Helicopter Textron. Inc. v. Heliawest International. Ltd.. 385 F.3d 1291,1296 (10"^ Cir. 2004);
Pro Axess. Inc. v. Orlux Distribution. Inc.. 428 F.3d 1270, 1277 (10*^ Cir. 2005); OMI Holdings.
Inc. V. Roval Insurance Co. of Canada. 149 F.3d 1086, 1092 (10**^ Cir. 1998)). It has further
observed, "[i]n any event, the terms 'purposeful direction' and 'purposeful availment' denote the
same requirement[,]" Old Republic Insurance. 877 F.3d at 904 n.11, and "have the 'shared aim .
. . [of] ensur[ing] that an out-of-state defendant is not bound to appear to account for merely
'random, fortuitous, or attenuated contacts' with the forum state.'" ]d. (quotation and further
citation omitted).

       ^"The purposeful direction and 'arising out of requirements together comprise the
minimum contacts analysis. Courts do not always address these requirements separately or in
the same sequential order." jd. at 909 n.19 (citation omitted).
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an 'affiliationfn] between the forum and the underlying controversy,' principally, [an]
activity or an occurrence that takes place in the forum State® and is therefore subjectto
the State's regulation.'" Goodvear. 564 U.S. at 919 (quotation and citation omitted): e.g..

Old Republic Insurance. 877 F.3d at 908. For this reason, "specific jurisdiction is confined

to adjudication of 'issues deriving from, or connected with, the very controversy that
establishes jurisdiction.'" Goodvear. 564 U.S. at 919 (quotation omitted)(emphasis

added).

       Satterfield is not an Oklahoma resident; she resides in Virginia, see Doc. 1-2 at 2,

  1; Doc. 13-2 at 5, and GEICO issued the Policy to Satterfield in that state. See Doc.

12-3. After Satterfield was injured in an automobile accident in Oklahoma,^ counsel

retained in Oklahoma made a claim for UM benefits on her behalf by letter addressed to

GEICO in Fredericksburg, Virginia. See Doc. 12-6. GEICO investigated and evaluated

Satterfield's claim and ultimately determined that she was not entitled to UM benefits;^®


       ®"[T]he relationship between a defendant and the forum State 'must arise out of contacts
that "the defendant himself creates with the forum State,' and those contacts must be 'with the
forum State itself, not... with persons who reside there[.]"' Anzures. 819 F.3d at 1280 (quoting
Walden v. Fiore. 134 S. Ct. 1115, 1122 (2014)(quoting Burger King. 471 U.S. at 475)(emphasis
deleted)). "'[A] plaintiffs contacts with the forum State cannot be "decisive in determining whether
the defendant's due process rights are violated.'"" jd. (Quoting Walden. 134 S. Ct. at 1119 (quoting
Rush v. Savchuk. 444 U.S. 320, 332 (1980))). '"[T]hat [a defendant's] conduct affected plaintiffs
with connections to the forum State does not suffice to authorize jurisdiction.'" jd. (quoting
Walden. 134 S. Ct. at 1126). This is so because '"[d]ue process requires that a defendant be
haled into court in a . . . State based on his own affiliation with th[at] State, not based on the
"random, fortuitous, or attenuated" contacts he makes by interacting with other persons affiliated
with the State.'" Id. at 1280-81 (quoting Walden. 134 S. Ct. at 1123 (quoting Burger King. 471
U.S. at 475)).

       ®That Satterfield was injured in an automobile accident in Oklahoma and briefly treated for
those injuries in this forum is happenstance. The forum itself must be the focal point of the
plaintiffs claims; in this instance, it is GEICO's decision that Satterfield's was not entitled to UM
benefits that gives rise to this lawsuit, and not the automobile accident.

       ••^To the extent Satterfield has relied on GEICO's communications with its own counsel or
with her counsel in this state, again, the Court "looks to the defendant's contacts with the forum
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despite Satterfield's speculations to the contrary, that investigation, evaluation and

deternnination, which gives rise to Satterfield's causes of action, and the harm that has

allegedly resulted therefrom,''^ and for which Satterfieid seeks compensation in this

lawsuit, did not occur in the forum state.

        Thus, while Satterfield's burden at this stage "is light[,]" Doe v. National Medical

Services. 974 F.2d 143, 145 (lO^"^ Cir. 1992), the Court finds Satterfieid has not shown

that her claims for breach of contract and breach of the implied covenant of good faith

and fair dealing "arise out of or relate to" GEICO's contacts with this State. That is to say,

Satterfieid has not shown that GEICO's "challenged conduct had anything to do with

[Oklahoma] itself[.]" Walden v. Fiore. 134 S. Ct. 1115, 1125 (2014), that "'[an] activity or

an occurrence [took]... place in the forum[,]'" Goodvear. 564 U.S. at 919 (quotation and

citation omitted), or that the issues to be adjudicated "•deriv[e] from, or [are] connected

with, the very controversy that establishes jurisdiction."' Jd. (quotation omitted). Thus,

"specific jurisdiction is lacking regardless of the extent of. . . [GEICO's] unconnected

activities in th[is] State." Bristol-Mvers. 137 S. Ct. at 1781.

        As stated, the first step of the Court's specific jurisdiction analysis—^the minimum

contacts test—also encompasses the distinct requirement "that the defendant must have



State itself, not the defendant's contacts with persons who reside there." Walden. 134 8. Ct. at
1122 (citations omitted). Likewise, to the extent Satterfieid has relied on her own in-state actions,
"the plaintiff cannot be the only link between the defendant and the forum[,]" id., and "a
defendant's relationship with a plaintiff..., standing alone, is an insufficient basis for jurisdiction."
Id. (citation omitted); e.g.. Burger King. 471 U.S. at 475 (defendant cannot be haled into forum
solely as a result of unilateral activity of another party).

           See Walden. 134 S. Ct. at 1125 (proper question is not where plaintiffexperienced injury
or effect, but whether defendant's conduct meaningfully connects him to forum).

        "•^GEICO's claims handling process involved individuals located in among other places
San Diego, California, see, e.g.. Doc. 13-2 at 1-3, 7, 9-10, and Dallas Texas. See id. at 11-15.

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'purposefully directed its activities at residents of the forum state,'" Old Republic
Insurance. 877 F.3d at 904 (quotation omitted), or '"purposefully availed' itself of the

privilege of conducting activities ... in th[is] . . . state." Dudnikov. 514 F.3d at 1071

(citations omitted). In addressing this requirement, Satterfield relied on a provision of the

Policy titled "Policy Period and Territory." Doc. 12-2 at 13. That provision reads in

pertinent part:

        A. This policy applies only to accidents and losses which occur:

             1. During the policy period as show in the Declarations; and

             2. Within the policy territory.

        B. The policy territory is:

             1. The United States of America . . . .

Jd. Part F - General Provisions.

        To the extent, ifany, Satterfield has met her burden of showing minimum contacts

based on this provision,the Court must engage in the second step of the two-step

inquiry^"^ and "'inquire whether the exercise of personal jurisdiction [over GEICO] would



        ^^See TH Agriculture & Nutrition. LLC v. Ace European Group Ltd.. 488 F.3d 1282 (10"^
Cir. 2007)("insurers quite clearly avail themselves of the privilege of conducting business in a
forum state when that state is included in an insurance policy's territory of coverage"); Melvin v.
Farm Bureau Property & Casualty Insurance Co.. 2014 WL 12730319 (W.D. Okla. 2014). But
see OMI Holdings. Inc. v. Royal Insurance Co. of Canada. 149 F.3d 1086, 1095 (lO"' Cir. 1998)
(insurance company that issues policy in which it agreed to defend its insured in certain forum
can undoubtedly foresee that it may have to provide defense for that insured who is haled into
court there; it does not follow, however, that by agreeing to defend in forum, that insurance
company also by implication agreed that itwill litigate disputes between it and its insured regarding
terms of insurance contract in a foreign forum).

       "•^Even ifa "defendant's contacts satisfy[y] the minimum contacts test (which includes the
purposeful direction [or purposeful availment] requirement), [the Court may] . . . nevertheless
h[o]ld that specific jurisdiction [is].. . improper based on the fair play and substantial justice (or
reasonableness) prong of the due process analysis." Old Republic Insurance. 877 F.3d at 913
n.24 (citation omitted).
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offend traditional notions of fair play and substantial justice.'" Shrader. 633 F.3d at 1240

(quotations omitted)). "'In doing so, [the Court is] . . . cognizant of the fact that, with

minimum contacts established, it is incumbent on . . . [GEICO] to present a compelling

case that the presence of. some other considerations would render jurisdiction

unreasonable."' Old Republic Insurance. 877 F.3d at 909 (quoting Dudnikov. 514 F.3d at

1080 (further quotations omitted)).

       In this connection, the Court "determine[s] whether jurisdiction is reasonable by

considering the following factors: '(1) the burden on the defendant, (2) the forum state's

interest in resolving the dispute, (3) the plaintiffs interest in receiving convenient and

effective relief, (4) the interstate judicial system's interest in obtaining the most efficient

resolution of controversies, and (5) the shared interest of the several states in furthering

fundamental social policies.'" Id. (quoting Pro Axess. Inc. v. Orlux Distribution. Inc.. 428

F.3d 1270, 1279-80 (10*^ Qj^ 2005)(further quotations omitted)).

       Based on the record, the Court finds that GEICO has made the necessary

showing. "'[A] state may ... have an interest in adjudicating a dispute between two non

residents where the defendant's conduct affects forum residents[, or]... where resolution

of the dispute require a general application of the forum state's laws.'" Employers Mutual

Casualty Co. v. Bartile Roofs. Inc.. 618 F.3d 1153, 1162 (10*^ Cir. 2010)(quotations

omitted).   In this case, however, no Oklahoma residents (save and except arguably

counsel) have been affected by GEICO's conduct; therefore, even if Oklahoma law is

applied to one or more of Satterfield's claims, the Court finds this State would have

minimal interest, if any, in resolving a dispute between a nonresident plaintiff and a

corporation that is incorporated, and has its principal place of business, in another state.



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See McGee v. International Life Insurance Co.. 355 U.S. 220, 223 (1957)(state has

manifest interest in providing effective means of redress for residents when insurers

refuse to pay claims).^®

        As to the third factor—^whether Satterfield's interest in receiving convenient or

effective relief is enhanced by litigation in this forum, the Court finds that while Oklahoma

law may differ from Virginia law and that such difference may affect the monetary relief

Satterfield may recover, Satterfield has not argued that her claims will be completely

foreclosed if the Court declines to exercise jurisdiction over GEICO.""®

        "The fourth factor [ofthe Court's reasonableness inquiry further] asks 'whether the

forum state is the most efficient place to litigatethe dispute[,]"' TH Agriculture & Nutrition.

488 F.3d at 1295 (quotation omitted): "'[kjey to this inquiry are the location of witnesses,

where the wrong underlying the lawsuit occurred, [and] what forum's substantive law


        "•^As the Tenth Circuit has stated, in discussing McGee: "[t]he presence of the plaintiff [in
the forum is]... not the substantial connection[ for purposes of specific jurisdiction;] rather it [is]
... the insurance company's purposeful acts soliciting business in the forum state. In contrast,
there is no substantial connection between [an] . . . insurance contract . . . and the state of
Oklahoma [where the contract is delivered in another state, the claim was filed by a resident of
another state and no premiums were mailed from Oklahoma]." Rambo. 839 F.2d at 1421 n.8.

        "•^Although Satterfield has argued that the laws of the State of Virginia differ in some
respects from the laws of the State of Oklahoma, the issue of the applicable state law has not yet
been resolved and Satterfield has advanced no argument that a court in another forum could not
properly apply Oklahoma law, if necessary and appropriate. Compare 15 O.S. § 162 (contract is
to be interpreted according to law and usage of place where it is to be performed, or, if contract
does not indicate place of performance, according to law and usage of place where it is made)
with Buchanan v. Does. 246 Va. 67, 431 S.E.2d 289 (1993)(laws of place where insurance
contract is written and delivered controls issues as to coverage). Compare Christian v. American
Home Assurance Co.. 577 P.2d 800 (Okla. 1977)(in Oklahoma, insurer has implied duty to deal
fairly and act in good faith with its insured and violation of this duty gives to rise to tort action for
which consequential and punitive damages may be sought) with Manu v. GEICO Casualty Co..
293 Va. 371, 798 S.E.2d 598 (2017)(recognizing that Va. Code Ann. § 8.01-66.1(D)(1) provides
remedy to insureds against insurers who arbitrarily refuse to pay claims owed under terms of
insurance contract; in cases involving DM coverage, such duty is triggered when insured obtains
judgment against uninsured tortfeasor and if breached, insured is entitled to recover amount due,
plus double interest, together with legal fees and expenses).
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governs the case^^           jd. (quotation and further citations omitted). Relevantwitnesses

would likely include Satterfield, GEICO employees involved in the claims-handling

process, and Satterfield's healthcare providers, since the primary dispute between the

parties is GEICO's evaluation of Satterfield's injuries. GEICO's employees and those

retained to provide certain opinions are located in California and Texas; Satterfield

resides in Virginia, and while some healthcare providers reside in Oklahoma, the majority

of these individuals reside in Virginia.           Furthermore, while the wrong underlying

Satterfield's claims—GEICO's decision that Satterfield was not entitled to UM coverage-

was communicated to Satterfield's counsel in this State, GEICO's challenged conduct did

not occur in Oklahoma.

        In assessing the burden on a nonresident defendant, which the United States

Supreme Court has deemed "the 'primary concern[,]'" Bristol-Mvers. 137 S. Ct. at 1780

(quotation omitted), "requires [the] . . . [Cjourt to consider [more than just] the practical

problems resulting from litigating in the forum,id.; the Court must also consider "the

more abstract matter of [the defendant's] submi[ssion] to the coercive power of a State

that. .. [has, as in this case,] little legitimate interest in the claims in question." Id.

       "The fifth factor of the reasonableness inquiry 'focuses on whether the exercise of

personal jurisdiction by [this Court] . . . affects the substantive social policy interests of

other states       '" TH Agriculture & Nutrition. 488 F.3d at 1297 (quotation omitted). The

Court finds that its exercise of jurisdiction could affect a policy interest of another state,



       ^^See n.16, supra.

       ^®lf the Court's inquiry did focus solely on "practical problems [that would] resuit[ ] from
litigating in th[is] forum," Bristol-Mvers. 137 8. Ct. at 1780, the Court would find that GEICO would
suffer little, if any, prejudice if obligated to defend this case in this State.

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such as Virginia, since tlie plaintiff is a residentofthat state and "Virginia has a compelling
interest in providing a forum for its residents when insurers refuse to pay a claim."

Rossman v. State Farm Mutual Automobile Insurance Co.. 832 F.2d 282, 287 (4^*^ Cir.

1987). In sum, the Court finds that the relevant factors weigh in favor of GEICO and

against the Court's exercise of specific jurisdiction over this defendant.

       The second type of jurisdiction—"general jurisdiction"—refers to a court's power to

hear claims against a nonresident corporate defendant when that defendant's "affiliations

with the State in which suit is brought are so constant and pervasive 'as to render [it]

essentially at home in the forum State.'" Daimler. 134 S. Ct. at 751 (quoting Goodvear.

564 U.S. at 919). Thus, "[e]ven when the cause of action does not arise out of or relate

to the foreign corporation's activities in the forum State, due process is not offended by a

State's subjecting the corporation to its in personam jurisdiction when there are sufficient

contacts between the State and the foreign corporation." Helicopteros Nacionales de

Colombia. S.A. v. Hall. 466 U.S. 408,414 (1984)(footnote and citations omitted). Having

determined that the Court may not exercise specific jurisdiction over GEICO, the Court

must consider whether it may exercise general jurisdiction.

       In doing so, the Court has '"impose[d] a more stringent minimum contacts test,'"

Old Republic Insurance. 877 F.3d at 904 (quoting Benton v. Cameco Corp.. 375 F.3d

1070, 1080 (10^*^ Cir. 2004)(further quotations omitted), '"[bjecause general jurisdiction is

not related to the events giving rise to the sult[.]'" Jd. (quoting Benton. 375 F.3d at 1080)

(further quotations omitted).

       "The 'paradigm' forums in which a corporate defendant is 'at home[ ]'. . . are the

corporation's place of incorporation and its principal place of business[,]" BNSF Railwav



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Co. V. Tvrrell. 137 S. Ct. 1549, 1558 (2017)(citing Daimler. 134 S. Ct. at 760; Goodvear.

564 U.S. at 924), which, in this case, are but one state—^the State of Maryland. See Doc.

1-17. "The exercise of general jurisdiction [over a nonresident corporation, however,] is

not [always] limited to [its place of incorporation and principal place of business]. . . ; in

an 'exceptional case,' a corporate defendant's operations in another forum 'may be so

substantial and of such a nature as to render the corporation at home in that State.'"

BNSF Railwav. 137 S. Ct. at 1558 (quoting Daimler. 134 S. Ct. at 761 n.19).

        To demonstrate GEICO's contacts in Oklahoma,^® Satterfield has relied on a

document prepared by the Oklahoma Insurance Department that lists insurance

companies licensed to do business in this State, one of which is GEICO. See Doc. 13-7

at 2.   That GEICO "is licensed[ and] regulated[ in Oklahoma]," Doc. 13 at 18, and

"routinely conducts insurance business [in the State], and has done so for years[,]" jd.,

does not, however, establish that GEICO is "so heavily engaged in activity in [Oklahoma]

... 'as to render [it] essentially at home' in th[is] State." BNSF Railwav. 137 S. Ct. at

1559 (citation omitted).

        In any event, the Court's "general jurisdiction inquiry does not 'focu[s] solely on the

magnitude of the defendant's in-state contacts.'"           Daimler. 134 S. Ct. at 762 n.20

(quotation omitted). Rather, as the United States Supreme Court has held, "[g]eneral

jurisdiction instead calls for an appraisal of a corporation's activities in their entirety,

nationwide and worldwide[,]" id-, and to aid the Court in its appraisal, Satterfield has

directed the Court to the allegations in the second amended petition: GEICO "boasts that


        ^®See Daimler. 134 8. Ct. at 761 (inquiry under Goodvear is not whether foreign
corporation's in-forum contacts can be said to be in some sense "continuous and systematic," but
rather, whether that corporation's '"affiliations with the State are so "continuous and systematic"
as to render [it] essentially at home in the forum State"').

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it is the second-largest private passenger auto insurer in the United States and enaploys

more than 36,000 associates; maintains 16 major offices around the country, has [7]

affiliated companies to meet insurance needs of drivers; and has more than 24 million

auto policies in force." Doc. 1-12 at 3,     4.

       Satterfield has not however demonstrated by these allegations that GEICO is

"heavily engaged in activity in [Oklahoma,]" BNSF Railway. 137 S. Ct. at 1559; instead,

she has only shown that GEICO "operates in many places." Daimler. 134 S. Ct. at 762

n.20: e^, jd. ("[Cjorporation that operates in places can scarcely be deemed at home in

all of them.     Otherwise, 'at home' would be synonymous with 'doing business[.]"').

Because Satterfield has not shown that GEICO is any more "at home" in Oklahoma than

it is "at home" in any other state where it conduct operations, the Court finds Satterfield

has not made a prima facie showing of general jurisdiction over GEICO.^o

       The Court has next considered whether venue in proper in this district. Title 28,

section 1391 (b) of the United States Code provides in pertinent part that a civil action may

be brought in

       (1) a judicial district in which any defendant resides ...; (2) a judicial district
       in which a substantial part of the events or omissions giving rise to the claim
       occurred . . . ; or (3) if there is no district in which an action may otherwise
       be brought as provided in this section, any judicial district in which [the]...
       defendant is subject to the court's personal jurisdiction with respect to such
       action.




       ^°See BNSF Railway. 137 8. Ct. at 1558-59 (fourteenth amendment due process
constraint described in Daimler applies to all state-court assertions of general jurisdiction over
nonresident defendants and does not vary with type of claim asserted or business enterprise
sued).

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28 U.S.C. § 1391(b). Because the Court has determined that it lacks in personam

jurisdiction over GEICO under the narrow circumstances of this casethe Court finds

venue is improper in this judicial district under subsections (b)(1) and (b)(3).

       To show that venue is proper under subsection (b)(2), Satterfield is required to

show that "a substantial part of the events ... giving rise to [her] claim[s] [against GEICO]

occurred [in the Western District of Oklahoma]. ..jd. § 1391(b)(2).22 The Court finds

Satterfield has not made that showing: a substantial part of GEICO's investigation and

evaluation of Satterfield's UM claim did not occur in Oklahoma, and because Satterfield

has at all times resided in Virginia, any harm that she suffered as a result of GEICO's

decision regarding UM benefits would not have been felt in this judicial district.^^

        GEICO has urged the Court transfer the matter under title 28, section 1406(a) of

the United States Code. That statute provides that a

       court of a district in which is filed a case laying venue In the wrong ... district
       shall dismiss, or if It be In the Interest of justice, transfer such case to any
       district... In which it could have been brought.




           For purposes of section 1391(b), a corporate defendant is deemed to reside "in any
judicial district in which such defendant is subject to the court's personal jurisdiction with respect
to the civil action in question." 28 U.S.C. § 1391(c)(2).

       22|n determining whether venue is proper under section 1391(b)(2), the Court must first
"examine the nature of the plaintiffs claims and the acts or omissions underlying those claims."
Employers Mutual Casualty. 618 F.3d at 1166.           The Court must then "determine whether
substantial 'events material to those claims occurred' in the forum district." jd. (citations and
footnote omitted). "'[Tjhe entire sequence of events underlying the claim[,]'" jd., must be
considered, and in making its determination, the Court is mindful that "venue is not limited to the
district with the most substantial events or omissions." jd. at 1165 (citations omitted)(emphasis
deleted).

       2^See Martin v. Gray. 385 P.3d 64, 67 (Okla. 2016)(injuryfrom breach of duty of good faith
and fair dealing occurs where insured is located): jd. (conduct causing injury occurs where claim
is handled).


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28 U.S.C. § 1406(a).24

        "Although ... [section]1406(a)... contain[s] the word 'shall,'... [theTenth Circuit]

ha[s] interpreted the phrase 'if it is in the interest of justice' to grant [a]. . . district court

discretion in making [the] . . .decision to transfer an action or... to dismiss the action

without prejudice." Truiillo v. Williams. 465 F.3d 1210,1222 (10^"^ Cir. 2006)(citing United
States V. Botefuhr. 309 F.Sd 1263,1274 n.8 (lO^"^ Cir. 2002)). In exercising that discretion

in this case,      jd. at 1223 n.16 (outlining factors relevant under 28 U.S.C. § 1631(a)),2®
the Court finds that the interest of justice support a transfer of this action to the United

States District Court for the Western District of Virginia, as GEICO has proposed, and not

dismissal.

        Based on the foregoing, the Court

        (1) having determined that it lacks in personam jurisdiction over GEICO and that

venue in the Western District of Oklahoma is improper,^® GRANTS GEICO's Motion to

Dismiss [Doc. 12] filed on December 12, 2017;




             court may . . . cure jurisdictional and venue defects by transferring a suit under the
federal transfer statutes, 28 U.S.C. §§ 1406(a) and 1631, when it is in the interests of justice."
Truiillo v. Williams. 465 F.3d 1210,1222 (lO^*^ Cir. 2006); e^, Shrader. 633 F.3d at 1249 (transfer
under section 1631 is discretionary option to cure deficiencies related to personal jurisdiction).

        2®"[F]actors warranting transfer rather than dismissal, at least under [28 U.S.C.] § 1631,
include finding that the new action would be time barred, that the claims are likely to have merit,
and that the original action was filed in good faith rather than filed after 'plaintiff either realized or
should have realized that the forum in which . . . she filed was improper[.]"' Truiillo. 465 F.3d at
1223 n.16 (quotations and citations omitted).

        2®Because GEICO's arguments under Rules 12(b)(2) and 12(b)(3), supra, and section
1406(a) are dispositive, the Court has not considered GEICO's alternate argument that transfer
of this action is warranted under section 1404(a).

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        (2) FINDS in the interest of justice that this matter should be transferred to the

United States District Court for the Western District of Virginia pursuant to 28 U.S.C. §

1406(a) and 28 U.S.C. § 1631(a); and

        (3) DIRECTS the Clerkof the Court to transfer this action to the Clerk of that judicial

district.

        ENTERED this 26^ day ofJanuary, 2018.



                                                       LB£ R. WEST
                                                         TED STATES DISTRICT JUDGE




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